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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
                           ______________

JANE DOE,

                  Plaintiff,             Case No. 18-11295
                                         Hon. Mark A. Goldsmith
vs.                                      Magistrate Judge: R. Steven Whalen

THE CITY OF DETROIT,
a Michigan Municipal Corporation,

                  Defendant.
                                          /
Carol A. Laughbaum (P41711)             June Adams (P43283)
Attorneys for Plaintiff                 Letitia C. Jones (P52136)
STERLING ATTORNEYS AT LAW, P.C.         Tiffany Boyd (P71481)
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                                        boydti@detroitmi.gov
                                          /

      PLAINTIFF’S MOTION TO PROCEED PSEUDONYMOUSLY

      Plaintiff Jane Doe, by her attorneys Sterling Attorneys at Law, P.C.,

moves this Honorable Court for an Order allowing Plaintiff to proceed under

the pseudonym “Jane Doe” as set forth below and in the accompanying Brief.

      1.    Plaintiff is a transgender woman employed in a high-level position

with Defendant City of Detroit.
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       2.    On April 25, 2018 Plaintiff, under the pseudonym Jane Doe, filed

her Complaint, alleging she has been subjected to sex discrimination and a

hostile work environment due to her failure to conform to gender norms (Count

I), and due to her transitioning and transgender status (Count II), in violation of

Title VII of the Civil Rights Act of 1964, 42 USC 2000e, et seq., and Michigan’s

Elliot-Larsen Civil Rights Act, MCL 37.2101, et seq. Plaintiff also alleges

unlawful retaliation under both statutes for having complained, internally and

externally, about her illegal treatment (Count III) (Exhibit A, Complaint, Doc

#1).

       3.    The harassment endured by Plaintiff and as alleged in her

Complaint has been particularly vile and has included anonymous death threats

(Exhibit A, ¶¶24-26; 33-40).

       4.    Plaintiff remains an employee of Defendant City of Detroit and thus

is especially vulnerable to ongoing harassment or retaliation in the workplace,

in addition to potential threats to her safety beyond the workplace should her

name be publicly revealed in court filings.

       5.    Plaintiff moves to continue this case pseudonymously given the

private and sensitive nature of her claims and given the threats to her personal

safety and life, which could escalate if her identity is revealed.

       6.    Pursuant to LR 7.1, there was a phone conference between counsel

on May 18, 2018 in which movant explained the nature of the motion or request
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and its legal basis and requested but did not obtain concurrence in the relief

sought.

         7.   Plaintiff further relies on the argument set forth in her supporting

brief.

                                Respectfully submitted,

                                STERLING ATTORNEYS AT LAW, P.C.

                                By:   /s/Carol A. Laughbaum
                                      Carol A. Laughbaum (P41711)
                                      Attorneys for Plaintiff
                                      33 Bloomfield Hills Pkwy., Ste. 250
                                      Bloomfield Hills, MI 48304
                                      (248) 644-1500
Dated: May 24, 2018




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
                           ______________

JANE DOE,

                  Plaintiff,            Case No. 18-11295
                                        Hon. Mark A. Goldsmith
vs.                                     Magistrate Judge: R. Steven Whalen

THE CITY OF DETROIT,
a Michigan Municipal Corporation,

                  Defendant.
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                                       adamj@detroitmi.gov
                                       jonelc@detroitmi.gov
                                       boydti@detroitmi.gov
                                         /


               BRIEF IN SUPPORT OF PLAINTIFF’S
             MOTION TO PROCEED PSEUDONYMOUSLY
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                STATEMENT OF ISSUES PRESENTED

     Whether the Court should permit Plaintiff to proceed pseudonymously
     given the private and sensitive nature of her claims, which arise from her
     status as a transgender woman, and where Plaintiff has been subjected to
     threats to her personal safety, including death threats, which could
     escalate if her identity is publicly disclosed?




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                       CONTROLLING AUTHORITY

Doe v Porter, 370 F3d 558 (6th Cir 2004)




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Statutes, Court Rules & Misc.

Human Rights Campaign website, Violence Against the Transgender
Community in 2018. http://www.hrc.org/resources/violence-against-the-transgender-
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                         FACTUAL BACKGROUND

      Plaintiff is a highly educated, high level employee of Defendant City of

Detroit (Exhibit A, Complaint). During her employment, Plaintiff, who was

born biologically male and previously presented as a male, underwent sex

reassignment surgeries and related medical treatment to reflect her gender

identity, female (Id). Upon her return to work, as a female and with a different

first name, Plaintiff was subjected to escalating harassment by an obviously

disturbed co-worker. Among other things, the co-worker defaced Plaintiff’s

office nameplate by scrawling “Mr.” across her first name; gave her a “gift bag”

containing a dildo and a nasty note regarding Plaintiff’s gender reassignment

surgery, female appearance and attire, and stating, among other things, “We

don’t want people like you working here;” and left subsequent and increasingly

ominous notes for Plaintiff referencing her transition, purporting to quote Bible

verses, and containing death threats (Id). While Plaintiff timely reported all these

incidents, Defendant City failed and refused to take action to identify the

harasser, stop the threats, or attempt to protect Plaintiff’s safety, allowing the

harassment and threats to continue and escalate (Id.)

      Plaintiff sought assistance from and leveled complaints internally, with

her supervisors and the City’s Human Resources Department and Human

Rights Department. Her concerns were not addressed. She then filed complaints



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with the EEOC/Michigan Department of Civil Rights, and the Detroit Police

Department (Id).

      While the identity of Plaintiff’s harasser has long been known to

Defendant, he remains employed in a high-level position with Defendant City,

in Plaintiff’s workplace (Id).

      Since complaining about her untenable work environment and despite her

excellent job performance, Plaintiff has been retaliated against, denied a

promotion, and marginalized. Her hostile and retaliatory work environment,

which have taken a tremendous toll on her emotional well-being, is ongoing (Id).

      Plaintiff filed suit as “Jane Doe” on April 25, 2018 (Id). Defendant has

appeared, but not yet filed its Answer. Without any legitimate basis, Defendant

has indicated it opposes and will oppose Plaintiff’s attempts to proceed

pseudonymously.

                                 ARGUMENT

      Although Federal Rule of Civil Procedure 10(a) requires that a complaint

must state the names of all parties, the Sixth Circuit and courts in this District

have recognized that under certain circumstances a plaintiff is excluded from

this general requirement. See Doe v Porter, 370 F3d 558, 560 (6th Cir 2004).

Anonymity is justified when a plaintiff’s privacy interests substantially outweigh

the presumption of open judicial proceedings. Id, 370 F3d at 560.



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      The Sixth Circuit has identified the following factors to be considered in

making this determination: (1) whether the plaintiffs seeking anonymity are

suing to challenge governmental activity; (2) whether prosecution of the suit will

require the plaintiffs to disclose information “of the utmost intimacy”; (3)

whether the litigation compels plaintiffs to disclose an intention to violate the

law; and (4) whether the plaintiffs are children. Id, 370 F3d at 560, quoting Doe v

Stegall, 653 F2d 180, 185-186 (5th Cir 1981). Here, Plaintiff’s anonymity is

warranted as she satisfies the first two factors listed above.

      First, she is challenging the activity of her governmental employer.

      Second, Plaintiff’s claims in this case will require her to disclose not only

quintessentially personal information about her sexuality and transgender

status, but information which will subject her to opprobrium and social stigma.

This is intensely personal information that no prospective employer -- or anyone

else for that matter -- should be privy to unless Plaintiff chooses to disclose that

information. In 2018, the wealth of readily available information that can be

obtained by almost anyone with a computer or smartphone, including access to

an entire court file, is beyond dispute. Requiring Plaintiff – a high level City of

Detroit Manager – to proceed with this litigation under her true name will

eviscerate her privacy rights, while allowing Plaintiff to proceed as “Jane Doe”

will help protect her privacy. Courts have allowed transgender plaintiffs to

proceed anonymously due to the social stigma associated with their gender
                                         3
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identity. See, e.g., Doe v Frank, 951 F2d 320, 324 (11th Cir 1992), Doe v Blue Cross

& Blue Shield of RI, 794 F Supp 72, 72-73 (D RI 1992); Highland Local School

District v US Department of Education, 2016 WL 4269080 (SD OH 2016).

       But even more compelling reasons to grant Plaintiff’s motion exist.

Intertwined with Plaintiff’s right to keep such intensely personal matters private

is the very real threat that she will face additional harm if her true identity is

revealed in court filings. As set forth in her Complaint, Plaintiff has already

suffered from extreme stress and panic attacks as a result of the vile conduct at

issue (and Defendant’s inaction). Revealing Plaintiff’s name may expose her to

additional and even more serious harm. Tragically, violence against transgender

persons is a reality, and the statistics startling.1 Plaintiff has already received

death threats as a result of her transgender status (Exhibit A).

       The Sixth Circuit and courts in this District have granted anonymity based

on circumstances less compelling than exist here, on the basis of privacy and

safety issues. In Porter, the plaintiffs challenged the school board’s practice of

permitting the Bible to be taught in public schools (Id, 370 F3d at 560). The Sixth

Circuit affirmed the lower court’s decision allowing the plaintiffs to proceed

using pseudonyms, finding plaintiffs’ interest in maintaining the privacy of their


1
 In 2017, advocates tracked at least 28 deaths of transgender people in the
United States due to fatal violence. See, e.g., Human Rights Campaign website,
Violence     Against      the     Transgender       Community     in    2018.
http://www.hrc.org/resources/violence-against-the-transgender-community-in-2018.
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religious belief (and preventing potential harassment that may be incurred based

on such beliefs) justified anonymity. In addition, exotic dancers have been

authorized to proceed pseudonymously for purposes of privacy and personal

safety and the recognized “substantial risk of harm” if their identity is disclosed.

See Doe #1 v Déjà Vu Consulting, Inc, 2017 WL 3838830 at *4 (MD Tenn, Sept

2017), and cases cited therein. Certainly Plaintiff, and given the facts of this case,

deserves no less.

      A court may also consider whether permitting anonymity will force a

defendant to proceed with insufficient information to defend against the

plaintiff’s claims. Does v Snyder, 2012 WL 1344412 at *2 (ED MI 2012). This

concern does not exist here. It is undisputed that Defendant already knows

Plaintiff’s true identity; and its ability to defend this case is not affected by her

proceeding anonymously.

                                 CONCLUSION

      As set forth above, Plaintiff respectfully requests an Order permitting

Plaintiff to proceed, pre-trial, pseudonymously. Upon entry of such an Order,

Plaintiff’s counsel will work with Defense Counsel to craft an appropriate

protective order allowing the disclosure to appropriate party representatives for

purposes of defense of this case, as well as an order preventing disclosure of

Plaintiff’s identity by the Defendant.



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          PROOF OF SERVICE                     Respectfully submitted,

 I certify that on May 24, 2018, I filed the   STERLING ATTORNEYS AT LAW, P.C.
 foregoing paper with the Clerk of the
 Court using the ECF system which will         By:   /s/Carol A. Laughbaum
 electronically send notification to all             Carol A. Laughbaum (P41711)
 counsel of record.                                  Attorneys for Plaintiff
                                                     33 Bloomfield Hills Pkwy., Ste. 250
 /s/Carol A. Laughbaum_______
                                                     Bloomfield Hills, MI 48304
 Sterling Attorneys at Law, P.C.
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LOCAL RULE CERTIFICATION: I, Carol A. Laughbaum, certify that this
document complies with Local Rule 5.1(a), including: double-spaced (except
for quoted material or footnotes); at least one-inch margins on the top, sides and
bottom; consecutive page numbering; and type size of all text and footnotes that
is no smaller than 10-1/2 characters per inch (for non-proportional fonts) or 14
point (for proportional fonts). I also certify that it is the appropriate length. Local
Rule 7.1(d)(3).

                                                     /s/Carol A. Laughbaum
                                                     Carol A. Laughbaum (P41711)




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